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     BILAL HANKINS                                           December 16, 2022
     BILAL HANKINS VERSUS KEVIN WHEELER ET AL                                1

·1· · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · EASTERN DISTRICT OF LOUISIANA
·2

·3· · · · · · · · · · · · · CIVIL ACTION NO.:2:21-cv-001129

·4· · · · · · · · · · · · · JUDGE:ELDON E. FALLON

·5· · · · · · · · · · · · · MAGISTRATE JUDGE:
· · · · · · · · · · · · · · JANIS VAN MEERVELD
·6

·7 BILAL HANKINS

·8 VERSUS

·9 KEVIN WHEELER, RAMON PIERRE,
· ·CARL PERILLOUX, KERRY NAJOLIA,
10 THE HOUSING AUTHORITY OF NEW
· ·ORLEANS, THE HURSTVILLE
11 SECURITY AND NEIGHBORHOOD
· ·IMPROVEMENT DISTRICT, THE
12 SOUTHEAST LOUISIANA FLOOD
· ·PROTECTION AUTHORITY-EAST,
13 LAKEFRONT MANAGEMENT
· ·AUTHORITY, MICHAEL BRENCKLE,
14 DARNELL LAURENT, THADDEUS
· ·PETIT, JAMEL BROWN, TYRONE
15 MARTIN, DEMETRIUS JACKSON,
· ·TOMMY MERCADAL, LEONTINE
16 MULLINS, and DOE INSURANCE
· ·COMPANIES 1-6
17

18 **************************************************

19· · · · · · · · ·DEPOSITION OF BILAL HANKINS

20

21· · · · The Deposition of BILAL HANKINS, was taken

22 in the above entitled cause, pursuant to the

23 following stipulation, before Parris A. Amedee,

24 Certified Court Reporter, at ACLU Foundation of
                                                                             B
25 Louisiana, 1340 Poydras Street, Suite 2160, New


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·1 Orleans, Louisiana on December 16th 2022, beginning

·2 at 10:05 a.m.

·3

·4 Reported by:

·5 PARRIS A. AMEDEE, CCR
· · Certified Court Reporter
·6 Louisiana License #29021

·7

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·1· · · · Q.· ·That’s in New Orleans?
·2· · · · A.· ·Yeah.· I don’t know the zip code though.
·3· · · · Q.· ·Do you know his phone number?
·4· · · · A.· ·I have it in my phone.· I don’t like know
·5· it.
·6· · · · Q.· ·Okay.· But you could provide that to us?
·7· · · · A.· ·Yeah.
·8· · · · Q.· ·Okay.· I may come back to that.· All
·9· right.· So tell me how you go from playing video
10· games in your apartment with Keith Frederick to the
11· search for the dog, how -- what -- what happened?
12· How did this all -- how did this all transpire?
13· · · · A.· ·So as I mentioned, before there’s two
14· apartments and in the front was my friend Deandra,
15· who the dog belonged to.· The dog, Dutchess, the
16· white Chihuahua with brown spots, belonged to her.
17· And she came in and she had informed us that the
18· dog had gone missing and that they were at -- like
19· they had just came back from trying to initially go
20· and search and find her.· They came back and said
21· it was missing.
22· · · · Q.· ·What’s Deandra’s last name?
23· · · · A.· ·Robins or Robinson, I’m not sure.
24· · · · Q.· ·Okay.· So she was in the apartment next
25· door?


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·1· · · · A.· ·In the same building, yeah.
·2· · · · Q.· ·Okay.· And so when she informed you of
·3· the dog being missing, how did you end up with Tahj
·4· Pierre and Latrell Miller?
·5· · · · A.· ·Latrell is her nephew that was visiting
·6· for some time.· His mother is Deandra’s sister.
·7· And Tahj and Deandra were good friends.· They went
·8· to Dillard together, but we were all in the same
·9· circle at the time because we were all taking
10· classes -- sewing classes and -- at this place
11· called “Material Institute” in the 9th Ward --
12· yeah, 9th Ward.
13· · · · Q.· ·Okay.· So you were familiar with Tahj and
14· Latrell before that day?
15· · · · A.· ·Yes.
16· · · · Q.· ·Okay.· So Deandra came over to your
17· apartment and knocked on the door and told you what
18· was going on or how -- how did --
19· · · · A.· ·Yeah.· I was --
20· · · · Q.· ·-- how did the conversation start?
21· · · · A.· ·-- I was playing video games and she
22· walked in.· She said, Dutchess was missing.
23· · · · Q.· ·Okay.· So what did y’all do from there?
24· · · · A.· ·From there, at the time I didn’t think
25· anything of it just given the fact that, like, we


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·1· live in a neighborhood where like our neighbors
·2· communicate a lot.· And I just suspected that the
·3· neighbor or like somebody had picked up the dog or
·4· that they were going to find the dog.· And then
·5· some time had passed and I realized they still
·6· hadn’t found the dog and then I was like, okay, let
·7· me put down the video games and go help.
·8· · · · Q.· ·Okay.· So what was the plan?
·9· · · · · · · MR. ANDREWS:
10· · · · · · · · · · ·Objection.
11· BY MR. HANNA:
12· · · · Q.· ·You can answer.
13· · · · A.· ·The plan to find the dog?
14· · · · Q.· ·Yes.
15· · · · A.· ·Well, at the time we split up.· Everybody
16· who was in the house at the time split up -- or
17· between the two apartments, not my mom and my
18· grandma, to find the dog.· And I went with Tahj in
19· his car and Latrell soon joined -- like came out
20· and followed us, hopped in the car.· I was in the
21· back
22· -- the back left like passenger side behind the
23· driver seat.· Tahj was driving.· And Latrell was in
24· the passenger seat.
25· · · · Q.· ·Okay.· So this is the vehicle that was at


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·1· got into Tahj’s car and started the search?
·2· · · · A.· ·Yes.
·3· · · · Q.· ·And what kind of car did Tahj have?
·4· · · · A.· ·He had a BMW, like a small sports --
·5· sports car and it was a four door though.· And I
·6· know he got it the year he graduated high school.
·7· So could be like a 2016, 2017, 2015, like that
·8· range.
·9· · · · Q.· ·Do you know whether it was like a 300
10· Series, 500 Series?
11· · · · A.· ·I’m not that good with cars.
12· · · · Q.· ·Okay.
13· · · · A.· ·No.
14· · · · Q.· ·But it was a four door?
15· · · · A.· ·Yeah, it was a four-door BMW sports car.
16· · · · Q.· ·And what color was it?
17· · · · A.· ·It was black.
18· · · · Q.· ·Okay.· And where was everyone seated in
19· the car?
20· · · · A.· ·Like I said, I was behind Tahj, who was
21· the driver, in the back left side.· And Latrell was
22· sitting on the passenger, in the front right.
23· · · · Q.· ·Okay.· And Latrell is -- was a relatively
24· young individual at the time, he was like -- how
25· old was Latrell?


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·1· · · · A.· ·To my knowledge, no.
·2· · · · Q.· ·Okay.· Would you agree that during your
·3· search and up to the time you first encountered the
·4· first police officer, you all were driving slowly?
·5· · · · A.· ·I suppose, but also cars do drive slow on
·6· Camp Street given all the potholes.· Like I don’t
·7· think we were driving abnormally slowly but, yeah.
·8· · · · Q.· ·But you wanted to proceed slowly, in
·9· order -- in order to see if you could find a small
10· Chihuahua walking around at night, correct?
11· · · · · · · MR. ANDREWS:
12· · · · · · · · · · ·Objection.
13· BY MR. HANNA:
14· · · · A.· ·We were just trying to find the dog.
15· · · · Q.· ·Okay.· But you wanted to drive with some
16· degree of speed such that you could find the dog
17· and driving at a fast speed would make it more
18· difficult, would -- wouldn’t you agree?
19· · · · · · · MR. ANDREWS:
20· · · · · · · · · · ·Objection.
21· BY MR. HANNA:
22· · · · A.· ·I suppose, yes.
23· · · · Q.· ·Do you know what the speed was of the
24· vehicle, approximately, as you were driving on Camp
25· Street?


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·1· · · · A.· ·Yeah.
·2· · · · Q.· ·Was it flashing at this point or was it
·3· just still solid?
·4· · · · A.· ·No, it was still a solid blue light.
·5· · · · Q.· ·Okay.· So siren activated?
·6· · · · A.· ·No siren.
·7· · · · Q.· ·Okay.· So you -- then you cross Jefferson
·8· Hi -- Jefferson Avenue?
·9· · · · A.· ·Yes.
10· · · · Q.· ·Still heading further Uptown?
11· · · · A.· ·Yes.
12· · · · Q.· ·Okay.· And as I understand it you got to
13· Joseph Street where Camp runs into Joseph, right?
14· · · · A.· ·I was unsure at the time but now I
15· believe it was Octavia, but between Camp and
16· Octavia -- or between Joseph and Octavia was around
17· where we turned but I’m pretty sure it was Octavia.
18· · · · Q.· ·Okay.
19· · · · A.· ·-- because there was a yellow dumpster
20· parked on the corner and they were doing
21· construction work on the school, Benjamin Franklin
22· Elementary, in that neighborhood.
23· · · · Q.· ·Okay.· So I’ve seen a number of
24· references to you all driving down Camp Street to
25· Joseph.· You don’t recall driving to the


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·1· intersection of Camp and Joseph?
·2· · · · A.· ·What I’m saying is --
·3· · · · Q.· ·Because Octavia would be a block before
·4· that.
·5· · · · A.· ·Yeah, but what I’m saying is we drove to
·6· there but where we were stopped, I believe was
·7· Octavia.
·8· · · · Q.· ·Okay.· But I’m going to -- I’m going to
·9· get to that in a minute, but do you recall driving
10· down Camp to the intersection of Camp and Joseph?
11· · · · A.· ·Um, --
12· · · · Q.· ·Do you all recall -- I mean, do you
13· recall that being your path?
14· · · · A.· ·I feel like I did -- like I said, at the
15· time I thought it was Joseph but now after --
16· especially after me moving back here and driving in
17· that neighborhood, I’m pretty sure it was Octavia.
18· · · · Q.· ·Okay.· So your recollection is you didn’t
19· go any further past -- on Camp past Octavia Street?
20· · · · A.· ·That’s not necessarily what I’m saying.
21· What I’m saying is in the moment when I gave --
22· when I was speaking to the officers and probably
23· even in my statement, I might have referred to it
24· as Joseph because like I said I went to Lusher and
25· like I know Joseph Street.· So like Jefferson,


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·1· Joseph that’s like what clicked in my head.· But
·2· after going back and after looking at Google maps
·3· where the yellow dumpster was, that is where we
·4· were stopped.
·5· · · · Q.· ·Okay.· And I know that’s ultimately where
·6· you stopped, but I’m still talking about the path
·7· that you took as you were driving up river, on Camp
·8· Street, did you get as far as Joseph Street --
·9· · · · · · · MS. CASEY:
10· · · · · · · · · · ·Objection.
11· BY MR. HANNA:
12· · · · A.· ·Yeah, --
13· · · · Q.· ·-- that night?
14· · · · A.· ·-- I’m unsure because it --
15· · · · Q.· ·Okay.
16· · · · A.· ·-- was dark.
17· · · · Q.· ·Okay.
18· · · · · · · THE REPORTER:
19· · · · · · · · · · ·You said, “it was dark,” I’m sorry.
20· · · · · · · THE WITNESS:
21· · · · · · · · · · ·Yes, because it was dark.
22· BY MR. HANNA:
23· · · · Q.· ·So if you got to the intersection of
24· Joseph and Camp Street, could you say which way you
25· all turned if you -- if, in fact, that was your


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·1· path?
·2· · · · A.· ·We turned right.
·3· · · · Q.· ·Okay.· If there’s multiple references and
·4· statements -- recorded statements and other
·5· documentation that says that you turned left at the
·6· corner of Joseph and Camp Street, would you agree
·7· that those references may be correct?
·8· · · · A.· ·No.
·9· · · · Q.· ·Okay.
10· · · · A.· ·Because at the -- if you turn left on
11· Joseph and Camp Street that’s a one-way coming from
12· Magazine.
13· · · · Q.· ·Okay.· What do you recall -- do recall
14· Tahj taking a left there and then making a U-turn?
15· · · · A.· ·I don’t recall that.· I don’t even think
16· there’s --
17· · · · Q.· ·Okay.
18· · · · A.· ·-- enough space to make a U-turn.
19· · · · Q.· ·And Tahj didn’t live Uptown so he was not
20· that familiar with the streets in Uptown, correct?
21· · · · A.· ·No.
22· · · · Q.· ·Am I correct?
23· · · · A.· ·Yeah, you’re -- you’re right, he lived in
24· the East.
25· · · · Q.· ·Okay.· And you agree that this car was


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·1· registered to a female owner with an address in New
·2· Orleans East?
·3· · · · A.· ·Yes, it --
·4· · · · Q.· ·Now --
·5· · · · A.· ·-- was to Tahj’s mother.
·6· · · · Q.· ·Tahj’s mother.· Do you know where Tahj
·7· lived at the time of this incident?
·8· · · · A.· ·Um, I don’t -- I’ve only been to Tahj’s
·9· house once.· I don’t know if it was before or after
10· this incident.· I didn’t know his address.
11· · · · Q.· ·Okay.· But you -- you do agree that Tahj
12· lived in New Orleans East and the car was
13· registered to his mother who lived at the same
14· address in New Orleans East?
15· · · · A.· ·Yes.
16· · · · Q.· ·Okay.
17· · · · A.· ·And I knew that -- all I knew about Tahj
18· before going to his house is that his house is in a
19· wealthy subdivision in the East because his mom is
20· a nurse and his father is also a -- well off.
21· · · · Q.· ·Okay.· So as you all were proceeding from
22· -- on Camp Street were you all stopped with your
23· vehicle pointed further Uptown or had you all
24· turned around and you were pointed towards Downtown
25· when you were stopped?


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·1· · · · Q.· ·Okay.· Do you know if Latrell put hands
·2· out?
·3· · · · A.· ·When we were immediately stopped?
·4· · · · Q.· ·Yes.
·5· · · · A.· ·Latrell did look out of the passenger
·6· side to see what was going on because like I said
·7· we were -- it was just an unmarked gray car behind
·8· us initially and at that point that’s when I looked
·9· through the back window and I saw who I now know as
10· Officer Pierre, but I didn’t know at the time.                   I
11· just saw a man with some -- a man with a gray shirt
12· putting on body armor in his car.· Then he gets out
13· of his car and he has his gun drawn, raised above
14· his shoulders like this (demonstrating) and is
15· pointed like directly through the car like to like
16· me -- like the car and Latrell, like --.
17· · · · Q.· ·Okay.· So you say that the officer you --
18· I have identified as Officer Pierre got out.· He --
19· you saw him physically put on body armor?
20· · · · A.· ·He put on body armor before he stepped
21· out of the vehicle, --
22· · · · Q.· ·Okay.· Well, how can you --
23· · · · A.· ·-- which makes me --
24· · · · Q.· ·-- see all this if the high beams blinded
25· you to begin with earlier?


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·1· · · · Q.· ·All right.· The only -- the only person
·2· that got out of the car was Tahj Pierre, correct?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·You stayed in the car the whole time?
·5· · · · A.· ·Correct.
·6· · · · Q.· ·Okay.· How long did Officer Pierre have
·7· his gun drawn?
·8· · · · A.· ·I couldn’t say.
·9· · · · Q.· ·Did Officer Wheeler ever draw his gun?
10· · · · A.· ·I believe so, yes.
11· · · · Q.· ·What makes you believe that?
12· · · · A.· ·That’s how I remember it.
13· · · · Q.· ·Okay.· Well, “I believe so” sounds like
14· you’re not certain.· Is -- is it --
15· · · · · · · MR. ANDREWS:
16· · · · · · · · · · ·Objection.
17· BY MR. HANNA:
18· · · · Q.· ·-- correct that you’re not entirely
19· certain whether Wheeler drew -- drew a gun?
20· · · · A.· ·When Officer Wheeler got out of his car
21· he in a similar fashion as Officer Pierre had his
22· arms raised like this (demonstrating).· I don’t
23· know if it was a gun or a taser, but it was a
24· weapon pointed directly at the car and everybody in
25· it.


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·1· · · · Q.· ·Okay.· And when you’re doing this
·2· motioning you’re holding your hands up, almost
·3· parallel with your shoulders as though somebody
·4· would be in a shooting position, correct?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·Okay.· But you don’t know for certain
·7· what Officer Wheeler had in his hands?
·8· · · · · · · MR. ANDREWS:
·9· · · · · · · · · · ·Objection.
10· BY MR. HANNA:
11· · · · A.· ·I can say I felt in danger with whatever
12· was in his hands --
13· · · · Q.· ·Okay.
14· · · · A.· ·-- pointed at my direction.
15· · · · Q.· ·You don’t know for sure what Officer
16· Pierre had in his hands either?
17· · · · A.· ·I know for sure he had a gun.
18· · · · Q.· ·Okay.· Did you all do anything to cause
19· the officers to pull weapons out of fear for their
20· own safety?
21· · · · · · · MR. ANDREWS:
22· · · · · · · · · · ·Objection.
23· BY· MR. HANNA:
24· · · · A.· ·What could be something that we --
25· · · · Q.· ·I’m just asking a question if -- if you


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·1· recall doing anything that would cause them to want
·2· to pull weapons?
·3· · · · · · · MR. ANDREWS:
·4· · · · · · · · · · ·Objection.
·5· BY MR. HANNA:
·6· · · · A.· ·No, we previously just asked this officer
·7· for help finding a lost dog three blocks ago.
·8· · · · Q.· ·Were any commands made while you say
·9· these weapons were drawn?
10· · · · A.· ·Officer Wheeler asked for Tahj’s
11· identification -- license.
12· · · · Q.· ·Okay.· So that was the command that was
13· given?
14· · · · A.· ·Yeah, a command that was given.· Yes.
15· · · · Q.· ·Okay.· And did he ask Off -- Tahj Pierre
16· to get out of the vehicle?
17· · · · A.· ·Yes.
18· · · · Q.· ·Did Tahj Pierre comply?
19· · · · A.· ·Yes.· And he complied in giving his
20· license.
21· · · · Q.· ·When Tahj Pierre got out of the vehicle,
22· are you saying that anybody had a weapon drawn on
23· Tahj Pierre at that time?
24· · · · A.· ·Um, yes, the officers still had their
25· guns up.


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·1· · · · Q.· ·And they were pointed at Tahj Pierre as
·2· he got out of the vehicle?
·3· · · · A.· ·Yes, because during this moment I even
·4· like made clear to Officer Wheeler that like you
·5· just look at his license.· Like if, he’s going to
·6· give you his license you can run it and see that
·7· this is the car we’re in.
·8· · · · Q.· ·Where was Tahj Pierre positioned?· Did he
·9· walk back towards the police vehicle or police
10· vehicles?· Did he stay stationary next to the BMW?
11· Where was Tahj positioned?
12· · · · A.· ·We were parked on the right side of the
13· road and Tahj had got out and officers were in the
14· street.· Officer Wheeler specifically was in the
15· street and Tahj was -- moved -- walked into the
16· street with his hands up of course.· And that’s
17· when Officer Wheeler asked for his license.· They
18· exchanged it in the street.
19· · · · Q.· ·Did you see Tahj hand him the license?
20· · · · A.· ·Yes.
21· · · · Q.· ·And what was -- what happened with
22· whatever was in Officer Wheeler’s hands at that
23· time?
24· · · · A.· ·He put his weapons down.· Took the
25· license and went back to his vehicle.· At the time


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·1· Officer Pierre was still outside of his vehicle.
·2· And once Officer Wheeler brought the license back
·3· to his vehicle, he said that he ran the plates
·4· again and saw that the address matched up from --
·5· his reasoning for the stop was that the car was
·6· registered to a New Orleans East address and we
·7· were Uptown.
·8· · · · Q.· ·Are you certain that Tahj handed Officer
·9· Wheeler a driver’s license?
10· · · · · · · MR. ANDREWS:
11· · · · · · · · · · ·Objection.
12· BY MR. HANNA:
13· · · · A.· ·Like a driver’s license or --
14· · · · Q.· ·Are you sure --
15· · · · A.· ·-- identification?· He handed --
16· · · · Q.· ·-- are you sure that he gave any sort of
17· identification or driver’s license to Officer
18· Wheeler?
19· · · · A.· ·Oh, for sure.
20· · · · Q.· ·Okay.· What about Officer Pierre, did he
21· at some point holster his weapon?
22· · · · · · · MR. ANDREWS:
23· · · · · · · · · · ·Objection.
24· BY MR. HANNA:
25· · · · A.· ·Um, after the incident was over.


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·1· · · · · · · MR. ANDREWS:
·2· · · · · · · · · · ·Objection.
·3· BY MR. HANNA:
·4· · · · Q.· ·Go ahead.
·5· · · · A.· ·And this is after -- at what point are we
·6· talking about?· Are we talking about --
·7· · · · Q.· ·When Tahj got out of the vehicle, I’d
·8· like to know everything that you heard communicated
·9· between the officers and Tahj Pierre, --
10· · · · A.· ·Well --
11· · · · Q.· ·-- to the best of your recollection.
12· · · · A.· ·-- like I said to the best of my
13· recollection, I told you Tahj handed his license or
14· identification to Officer Wheeler.· And Officer
15· Wheeler walks back to his car in which, like I
16· said, he runs the plates again and sees it matches
17· to the address on the identification.· And I even
18· -- at this point -- or before he walked back to his
19· car, I even said like his mom lives like -- he
20· lives in New Orleans East.· And this female that he
21· said that the car is registered to is most likely
22· his mom.· And so he went back to his car and saw
23· everything checked out, and then he came back with
24· his weapon holstered.
25· · · · · · · And this is when he brings out his


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·1· notepad to take notes about the dog and he asks us,
·2· “If it was a white Chihuahua with brown spots?”
·3· And I said, “Yes.”· And I also remember him saying,
·4· “Well, you know three young men in a nice car in
·5· this neighborhood is the reasoning for the stop.”
·6· · · · Q.· ·Okay.
·7· · · · A.· ·To which I said, “I don’t know what
·8· you’re talking about because I’ve lived in this
·9· neighborhood my whole life.”· And it was -- seemed
10· to me it felt like he was insinuating the color of
11· our skin.
12· · · · Q.· ·So Officer Wheeler described Dutchess?
13· · · · A.· ·He asked what type of dog it was again.
14· As in --
15· · · · Q.· ·Okay.
16· · · · A.· ·-- to me that showed that he didn’t take
17· in any information from the first time we stopped
18· and previously described this dog and my address.
19· · · · Q.· ·At no time were any commands made for
20· everyone to get out of the car, correct?
21· · · · A.· ·Correct.
22· · · · Q.· ·At not time were any commands made for
23· everybody to get out of the car and lay on the
24· ground, correct?
25· · · · · · · MR. ANDREWS:


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·1· · · · · · · · · · ·Objection.
·2· BY MR. HANNA:
·3· · · · A.· ·Correct.
·4· · · · Q.· ·At no time were any commands made to get
·5· out of the car and show hands on the hood or the
·6· back of the vehicle at any time, correct?
·7· · · · A.· ·Correct.
·8· · · · Q.· ·The only one who got out of the car at
·9· any time that night was Tahj Pierre, got out of the
10· BMW, correct?
11· · · · · · · MR. ANDREWS:
12· · · · · · · · · · ·Objection.
13· BY MR. HANNA:
14· · · · A.· ·Yes, during the incident.
15· · · · Q.· ·Okay.
16· · · · A.· ·During the stop.
17· · · · Q.· ·Now, how long did this stop take before
18· you all were allowed to leave?
19· · · · A.· ·I don’t remember.
20· · · · Q.· ·Okay.
21· · · · A.· ·I do remember after the event.· I don’t
22· remember how long -- like I remember saying that to
23· Tahj.
24· · · · Q.· ·Have you seen the Internal Affairs
25· Investigative Report that was produced in this case


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·1· that, that GPS data is unreliable?
·2· · · · · · · MR. ANDREWS:
·3· · · · · · · · · · ·Objection.
·4· BY MR. HANNA:
·5· · · · A.· ·Unreliable I -- I don’t know, especially
·6· I’m a software engineer I’d like to believe that
·7· technology is reliable.
·8· · · · Q.· ·Okay.· And if, in fact, the stop was less
·9· than 5 minutes you would agree that that’s far less
10· than 20 or 30 minutes?
11· · · · · · · MR. ANDREWS:
12· · · · · · · · · · ·Objection.
13· BY MR. HANNA:
14· · · · A.· ·I remember saying it felt like 20 or 30
15· minutes.
16· · · · Q.· ·Okay.· You would agree that 5 minutes is
17· far less than 20 or 30 minutes, right?
18· · · · A.· ·Yeah, but I would also say that 5 minutes
19· can feel like 20 or 30 minutes, especially in a
20· situation like this.
21· · · · Q.· ·Understood.· Ultimately you -- ultimately
22· you all were allowed to leave without further
23· incident, correct?
24· · · · · · · MR. ANDREWS:
25· · · · · · · · · · ·Objection.


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·1· BY· MR. HANNA:
·2· · · · A.· ·“Further incident,” like without speaking
·3· to them again that night?
·4· · · · Q.· ·The -- the -- no requirements were placed
·5· on you.· No tickets were issued.· No citations were
·6· issued.· You all were allowed to go on about your
·7· way?
·8· · · · A.· ·Yes, because we didn’t do anything wrong.
·9· We asked for help finding a dog.· We -- this was
10· the last thing that we thought were going to happen
11· when we stopped and asked this police officer for
12· help.
13· · · · Q.· ·You never had any physical contact with
14· Officers Wheeler or Pierre, correct?
15· · · · · · · MR. ANDREWS:
16· · · · · · · · · · ·Objection.
17· BY MR. HANNA:
18· · · · A.· ·Um, I don’t remember -- like handshakes
19· or something like --?
20· · · · Q.· ·They never layed hands on you at any time
21· that night did they?
22· · · · A.· ·No, I maybe shook his hand or something
23· maybe when he left.
24· · · · Q.· ·Okay.· But you never got out of the BMW
25· did you?


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·1· · · · · · · MR. ANDREWS:
·2· · · · · · · · · · ·Objection.
·3· BY MR. HANNA:
·4· · · · A.· ·After -- during the stop?
·5· · · · Q.· ·During the stop you never got out of the
·6· BMW, right?
·7· · · · A.· ·No.
·8· · · · Q.· ·Okay.· And so they never reached in and
·9· layed hands on you at any time that night, did
10· they?
11· · · · · · · MR. ANDREWS:
12· · · · · · · · · · ·Objection.
13· BY MR. HANNA:
14· · · · A.· ·I don’t remember.
15· · · · Q.· ·Okay.· You never mentioned anything about
16· being touched or having hands layed on you in your
17· recorded phone interview, did you?
18· · · · A.· ·I don’t remember any hands being put on
19· me, no.
20· · · · Q.· ·Okay.· All right.· And you were never
21· arrested that night were you?
22· · · · A.· ·No.· But like I said that was not what we
23· were thinking could happen after asking him for
24· help.
25· · · · Q.· ·Okay.· No physical force was ever applied


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·1· to you that night, correct?
·2· · · · · · · MR. ANDREWS:
·3· · · · · · · · · · ·Objection.
·4· BY MR. HANNA:
·5· · · · A.· ·I don’t know what qualifies as “physical
·6· force.”
·7· · · · Q.· ·The officers never got you out of the
·8· vehicle and handcuffed you or did anything to you
·9· physically, --
10· · · · · · · MR. ANDREWS:
11· · · · · · · · · · ·Object --
12· BY MR. HANNA:
13· · · · Q.· ·-- right?
14· · · · · · · MR. ANDREWS:
15· · · · · · · · · · ·-- objection.
16· BY MR. HANNA:
17· · · · A.· ·I was not put in handcuffs, no.
18· · · · Q.· ·Okay.· Latrell never got out of the car
19· that night or was commanded to get out of the car
20· that evening, correct?
21· · · · A.· ·I don’t know if he was commanded to get
22· out, but no he did not get out?
23· · · · Q.· ·Okay.· I’m going to show you the
24· statement that you --
25· · · · · · · MR. HANNA:


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·1· said, “Driver get out of the car, multiple times.”
·2· That’s what you wrote the commands were over the PA
·3· system?
·4· · · · A.· ·Yes.
·5· · · · Q.· ·Okay.· And then it says, “Tahj pulls over
·6· behind a yellow dumpster?”
·7· · · · A.· ·“Pulled on Octavia near Ben Franklin
·8· Elementary School.”
·9· · · · Q.· ·“And gets out with his” --
10· · · · A.· ·“Hands up.”
11· · · · Q.· ·“His hands up,” okay.· “The Levee
12· District Officer got out of his car and immediately
13· had his firearm aimed at Tahj’s head.”· So would
14· that be Wheeler?
15· · · · A.· ·Yes.· At this point we still didn’t know
16· any names.
17· · · · Q.· ·“At that point my” -- does it say,
18· “roommate’s” --
19· · · · A.· ·Yeah, “my roommate’s 12 year old” --
20· · · · Q.· ·-- “12 year old nephew” --
21· · · · A.· ·-- “nephew.”
22· · · · Q.· ·-- “sticks his head out of the window”
23· and then what does it say there?
24· · · · A.· ·“The person in the unmarked car gets out
25· and points his weapon at my nephew, yelling, hands


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·1· · · · A.· ·“The officer says that we look
·2· suspicious.”
·3· · · · Q.· ·Okay.· “The officer says that we look
·4· suspicious riding around Uptown and then he ran
·5· Tahj’s plate and it came back to an address in the
·6· East and” --
·7· · · · A.· ·“Registered to a female.”
·8· · · · Q.· ·Okay.· So are you recounting that’s what
·9· you concluded or are you recounting that, that’s
10· what the officer told you?
11· · · · A.· ·This is what the officer told us.
12· · · · Q.· ·And which officer told you this?
13· · · · A.· ·Officer Wheeler.
14· · · · Q.· ·Okay.
15· · · · A.· ·I did not speak to Officer Pierre during
16· the stop --
17· · · · Q.· ·At any time?
18· · · · A.· ·-- other than -- other than him like
19· directing or commands.
20· · · · Q.· ·Okay.· Then you say, “I calmly told the
21· officer that I am a resident of the neighborhood.
22· The officer then asked what the car was doing
23· Uptown?· I told him Tahj had drove over for dinner
24· and that he lives in the” --
25· · · · A.· ·“East” --


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·1· · · · A.· ·Yes.
·2· · · · Q.· ·So as far as you know, isn’t it correct
·3· that Sergeant Demetrius Jackson of the Housing
·4· Authority of New Orleans was not present during the
·5· stop that took place on June 13th 2020?
·6· · · · A.· ·No.· He was not present.
·7· · · · Q.· ·How about Sergeant Tommy Mercadal?
·8· · · · A.· ·No.
·9· · · · Q.· ·He was not present?
10· · · · A.· ·No, not present.
11· · · · Q.· ·How about Lieutenant Tyrone Martin?
12· · · · A.· ·Not present.
13· · · · Q.· ·How about Sergeant Leontine Mullins?
14· · · · A.· ·Not present.
15· · · · Q.· ·Thank you.· Do you know of anything that
16· Lieutenant Tyrone Martin, of the Housing Authority
17· of New Orleans, did that caused the conduct of
18· Ramon Pierre during the stop on the night of June
19· 13th 2020?
20· · · · · · · MR. ANDREWS:
21· · · · · · · · · · ·Objection.
22· BY MS. WISDOM:
23· · · · A.· ·Um, as far as I know he’s his supervisor
24· and is responsible for like training Officer
25· Pierre.· And we also -- like it was not clear to us


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·1· -- not necessarily the investigation.· But like in
·2· the days after when my mom was trying to figure
·3· out, you know, who pulled the guns out on her son,
·4· we didn’t know who to contact.· Because when we
·5· contacted Hurstville they told us this was a HANO
·6· and OLDP issue.· And when we were on the phone with
·7· HANO and OLDP we got conflicting answers.
·8· · · · Q.· ·Okay.· So what is it that you claim that
·9· Lieutenant Martin did wrong in training Officer
10· Ramon Pierre regarding investor -- investigatory
11· stops?
12· · · · · · · MR. ANDREWS:
13· · · · · · · · · · ·Objection.
14· BY MS. WISDOM:
15· · · · A.· ·Um, I -- I don’t know what goes into the
16· training.
17· · · · Q.· ·In fact, you don’t know what training
18· Ramon Pierre received regarding his policing
19· activities, do you?
20· · · · A.· ·Nor at the --
21· · · · · · · MR. ANDREWS:
22· · · · · · · · · · ·Objection.
23· BY MS. WISDOM:
24· · · · A.· ·-- nor at the time did I know that he was
25· even involved with police.


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·1· · · · Q.· ·So your answer to that question is, no?
·2· · · · A.· ·No.
·3· · · · Q.· ·Okay.· Thank you.· Are you aware of any
·4· complaints, other than yours, made against Ramon
·5· Pierre regarding his conduct as a police officer?
·6· · · · · · · MR. ANDREWS:
·7· · · · · · · · · · ·Objection.
·8· BY MS. WISDOM:
·9· · · · A.· ·Um, I’m unsure.
10· · · · Q.· ·Are --
11· · · · A.· ·No.
12· · · · Q.· ·Okay.· Do you have any reason to contest
13· that with the exception of your complaint, Ramon
14· Pierre has never been accused of excessive force?
15· · · · · · · MR. ANDREWS:
16· · · · · · · · · · ·Objection.
17· BY MS. WISDOM:
18· · · · A.· ·Like I said, I don’t.
19· · · · Q.· ·Do you have any reason to contest that
20· with the exception of your complaint Ramon Pierre
21· has never been accused of improperly brandishing a
22· weapon?
23· · · · · · · MR. ANDREWS:
24· · · · · · · · · · ·Objection.
25· BY MS. WISDOM:


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·1· BY MS. WISDOM:
·2· · · · A.· ·Like I said previously, this was my first
·3· time filling out a form like this and I just
·4· thought it was assumed that if he’s pointing the
·5· car -- or pointing the gun and my nephew’s in the
·6· car across from me, that would be assumed.
·7· · · · Q.· ·Isn’t it correct though that, that night
·8· what you saw was this pers -- this unidentified
·9· person, according to your report, pointing the gun
10· at Latrell Miller?
11· · · · · · · MR. ANDREWS:
12· · · · · · · · · · ·Objection.
13· BY MS. WISDOM:
14· · · · A.· ·Um --
15· · · · Q.· ·That’s what you saw, right?
16· · · · A.· ·-- in the direction.· Yes, in the
17· direction of Latrell Miller but that direction also
18· involved me in the line of fire.· So if any shots
19· were to ring off I felt threatened as if I would be
20· hit.
21· · · · Q.· ·Okay.· Other than seeing this person now
22· known to be Officer Ramon Pierre pointing the gun
23· at Latrell Miller, did you see him point his gun at
24· anyone else?
25· · · · · · · MR. ANDREWS:


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·1· · · · · · · · · · ·Objection.
·2· BY MS. WISDOM:
·3· · · · A.· ·Um, he still had his weapon out pointing
·4· at the car for the duration of the stop.
·5· · · · Q.· ·Okay.· Where was it pointed at the car?
·6· What part of the car was it pointed at?
·7· · · · A.· ·Um, I couldn’t tell you but I can tell
·8· you that I still saw him in the same position of
·9· holding his weapon above his shoulder in a shooter
10· -- in a shooting position until after Officer
11· Wheeler put his gun down.· And -- like after
12· Officer Wheeler had already gotten the license from
13· Tahj, he put his gun down.
14· · · · Q.· ·So if I -- if I hear what you just told
15· me correctly, that after Officer -- who you now
16· understand to be Officer Ramon Pierre, pointed his
17· gun at Latrell Miller; after that you’re not sure
18· where he was pointing the gun?
19· · · · · · · MR. ANDREWS:
20· · · · · · · · · · ·Objection.
21· BY MS. WISDOM:
22· · · · A.· ·No.· I told you he was still pointed in
23· the direction of the vehicle, but Latrell had put
24· his hands up.· And like I said, he stuck his head
25· out his window and then after he was commanded to


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·1· put his hands up, he put his head back in the
·2· window and he still had his hands up.
·3· · · · Q.· ·Okay.· So the gun, after he put his hands
·4· up, was just pointed at -- in the direction of the
·5· vehicle?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·And you don’t know where on the vehicle
·8· it was pointed?
·9· · · · · · · MR. ANDREWS:
10· · · · · · · · · · ·Objection.
11· BY MS. WISDOM:
12· · · · A.· ·Um, I still felt threatened wherever it
13· was pointed at the vehicle for reasons like I --
14· · · · Q.· ·Right.
15· · · · A.· ·-- just said because he was -- wherever
16· he pointed at the vehicle I was going to be at --
17· · · · Q.· ·Okay.
18· · · · A.· ·-- hit first because I was in the back
19· left.
20· · · · Q.· ·I understand what you -- that you’re
21· telling me what you may have felt.· But what I
22· would like to know is if you are aware of where on
23· the car the vehicle -- the gun was pointed?
24· · · · A.· ·I don’t know.· Like it didn’t have a
25· laser beam to where it was pointed.· I don’t know


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·1· just by me talking to Officer Wheeler.
·2· · · · Q.· ·So you saw him standing up with his arms
·3· up, is that correct?· You said, “the same
·4· position.”
·5· · · · A.· ·Yes, with the same weapon, like -- like
·6· you said, you asked me if I could see the barrel
·7· and I said, yes.
·8· · · · Q.· ·Throughout the entire stop you could see
·9· the barrel of the gun?
10· · · · · · · MR. ANDREWS:
11· · · · · · · · · · ·Objection.
12· BY MS. WISDOM:
13· · · · A.· ·Um, I mean, I’m not going to say the
14· entire stop but I can tell you when I looked the
15· first time and got out of the car, he had his gun
16· out in the same position.· And all the times that I
17· saw him throughout that stop he was in the same
18· position until Officer Wheeler put down his gun and
19· his weapon first.· To which Officer Pierre followed
20· and put his weapon down.
21· · · · Q.· ·Okay.· And it’s your testimony that
22· Officer Wheeler put his gun down after he received
23· Tahj Pierre’s license?
24· · · · A.· ·Um, yes.
25· · · · Q.· ·So it was at that point that Officer


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·1· Ramon Pierre put his gun down and -- according to
·2· you?
·3· · · · A.· ·After Officer Wheeler.
·4· · · · Q.· ·And Officer Wheeler did it after he got
·5· the driver’s license from Tahj Pierre, correct?
·6· · · · · · · MR. ANDREWS:
·7· · · · · · · · · · ·Objection.
·8· BY MS. WISDOM:
·9· · · · A.· ·Um, yeah, I -- after he had the license.
10· · · · Q.· ·So Ramon Pierre, immediately following --
11· well, Officer Wheeler putting his gun down it’s
12· your testimony that Officer Ramon Pierre put his
13· gun down as well?
14· · · · A.· ·After Officer Wheeler did.
15· · · · Q.· ·Okay.· During the stop did Officer Ramon
16· Pierre say anything?
17· · · · A.· ·Um, I’m pretty sure I remember recalling
18· and in my statement that he told Latrell to put his
19· hands up when he saw Latrell put his head out of
20· the window.
21· · · · Q.· ·Okay.· Other than telling Latrell Miller
22· to put his hands up, did he say anything else
23· throughout the entire stop?
24· · · · A.· ·No.· I don’t -- I don’t remember anything
25· very vocal after that.


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